                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

 BROOKS BELL INTERACTIVE, INC.,                    )
                                                   )
                                 Plaintiff,        )
                                                   )
                                                           CIVIL ACTION No. __________
          v.                                       )
                                                   )
 HEAP INC.,                                        )
                                                   )
                                 Defendant.        )

                                              COMPLAINT

          Plaintiff Brooks Bell Interactive, Inc. (“Brooks Bell” or “Plaintiff”) files this Complaint

 against Defendant Heap Inc (“Heap” or “Defendant”) and alleges and states as follows:

NATURE OF THE ACTION

         1.     This action arises from Defendant’s ongoing federal trademark infringement and

unfair competition involving certain trade and service marks owned by Brooks Bell. Brooks Bell

asserts claims against Defendant for federal trademark infringement (Count I), federal unfair

competition (Count II), and unfair competition – common law (Count III).

FACTUAL BACKGROUND

I.       Parties, Venue and Jurisdiction.

         2.     Plaintiff Brooks Bell Interactive, Inc. is a North Carolina corporation with its

principal place of business located at 711 Hillsborough Street Suite 200 Raleigh, North Carolina

27603.

         3.     Defendant Heap Inc. is a Delaware Corporation with its principal place of business

located at 225 Bush Street, Suite 200. San Francisco, California 94104.




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       4.       This Court has subject matter jurisdiction in this action pursuant to 15 U.S.C.

§ 1121(a) and 28 U.S.C. §§ 1331, 1332(a)(1) and 1338(a) and (b). Specifically, this Court has

personal jurisdiction under 28 U.S.C. § 1332(a)(1) because the amount in dispute between the

Parties is more than $75,000, and complete diversity of citizenship exists.

       5.       Venue is proper in this Court under 28 U.S.C. § 1391.

       6.       This Court has personal jurisdiction over the Defendant as it has sufficient

minimum contacts with the forum state to reasonably anticipate being haled into Court in North

Carolina based among other things, its dealings with Plaintiff as described herein.

 II.         Brooks Bell, The Brooks Bell Software, and Its ILLUMINATE Mark.

       7.       Brooks Bell provides customized software solutions that combine quantitative data

with qualitative research to uncover customers’ motivations, actions and needs for use in website

optimization, analytic services, and related goods and services in the United States and various

international jurisdictions.

       8.       Brooks Bell owns trademarks using various names and logos to identify software

products and related website optimization and analytic services, including U.S. Registration No.

5,638,239 (the “ILLUMINATE Mark”), filed in 2015 and issued December 25, 2018. A true and

correct copy of federal trademark registration for the ILLUMINATE Mark is attached as Exhibit

1, and incorporated herein by reference.

       9.       The ILLUMINATE Mark is well-known in the industry through the widespread,

continuous, and prominent use by Brooks Bell in interstate commerce since at least as early as

May of 2018.

       10.      The federal registration of the ILLUMINATE Mark remains valid and is in full

force and effect. Such registrations constitute evidence of Brooks Bell’s exclusive right to use and




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control the ILLUMINATE Mark in connection with website optimization software, analytic

services, and related goods and services.

       11.      Brooks Bell also owns common law rights to its ILLUMINATE Mark by virtue of

its widespread, continuous and prominent use of the ILLUMINATE Mark to market, advertise,

distribute, offer for sale and sell website optimization software, analytic services, and related goods

and services offered by Brooks Bell.

       12.      Brooks Bell is the owner of all right, title and interest in and to the ILLUMINATE

Mark, which serves to uniquely identify Brooks Bell’s website optimization software, analytic

services, and related goods and services. The ILLUMINATE Mark is inherently distinctive and

serves to identify and indicate Brooks Bell as the source of website optimization software, analytic

services, and related goods and services to the relevant consuming public throughout the United

States and represents substantial and valuable goodwill.

III.         Defendant’s Infringement of the ILLUMINATE Mark.

       13.      Defendant provides website optimization software, analytic services, and related

goods and services.

       14.      Defendant has previously and continues to market, advertise, offer for sale,

distribute, and sell in interstate commerce certain goods and services using the names

ILLUMINATE and HEAP ILLUMINATE (the “Infringing Marks”) identical or virtually identical

to the ILLUMINATE Mark. Representative samples of Defendant’s use of the Infringing Marks

are set out below and in Exhibit 2, which is incorporated herein by reference.




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(Screen capture April 14, 2023– url provided for convenience: Heap Illuminate - Heap | Heap.)




(Screen capture April 14, 2023– url provided for convenience: Heap - Better Insights.Faster. |

Heap.)




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(Screen capture April 14, 2023– url provided for convenience: Heap - YouTube.)




(Screen capture April 14, 2023– url provided for convenience: Introducing Heap Illuminate -

YouTube.)

       15.     Defendant had actual and constructive knowledge of Brooks Bell’s widespread,

continuous, and prominent use of the ILLUMINATE Mark prior to Defendant’s unauthorized use

of the ILLUMINATE Mark.

       16.     Indeed, a years-long business relationship between the Defendant and Brooks Bell

had begun at least as early as 2017.



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        17.     In 2017, Defendant entered a contract with Brooks Bell for Defendant to be a

Vendor Sponsor of the Brooks Bell’s 2017 Click Summit conference for $20,000. True and

accurate copies of the Vendor Sponsor contract and invoice are attached as Exhibits 3 and 4, and

incorporated herein by reference. The conference was held May 17 – 19, 2017, in Cary, North

Carolina, at the Umstead Hotel & Spa.

        18.     Defendant attended the 2017 Click Summit conference in North Carolina, in May

2017.

        19.     Click Summit is the premier event for enterprise brands building world-class testing

and optimization programs where leading experts in testing, optimization, and digital analytics

meet to discuss the current state of testing, including the important of effectively sharing testing

knowledge among team members, the use of behavioral economic to fuel testing strategies, and

mobile experimentation strategies that work.

        20.     As a Vendor Sponsor of the 2017 Click Summit conference, Defendant received

promotion of its name, logo and company information in the 2017 Click Summit conference

promotional materials, the conference attendee list, and a Session Leader in-person conversation

with conference attendees led by a Defendant representative.

        21.     Defendant’s in-person Session Leader conversation was entitled “Layering Long-

term Thinking into Experimentation strategy: Testing Throughout the Customer Lifecycle,” and

was presented by Defendant’s founder, Ravi Parikh. A true and accurate copy of a brochure from

the 2017 Click Summit conference entitled, “Clickaways” is attached as Exhibit 5 and incorporated

by reference.

        22.     As reflected in Exhibit 5, Defendant’s Session Leader conversation delivered by

Ravi Parikh was promoted as:




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               When discussing testing strategies throughout the customer lifecycle,
               employees in optimization have more questions than executable solutions.
               The struggles most organizations face are not about technology. Instead,
               their challenges are process related. They want to redefine their culture to
               be one of experimentation, shift away from short–term thinking and learn
               to connect qualitative and quantitative data into actionable testing strategies.
               A common testing strategy is focusing on tests to immediately optimize
               revenue. This approach doesn’t always consider high-yield users, or future
               plans to improve customer satisfaction − whether it is improving interaction
               or increasing brand loyalty. However, for many companies, the most
               profitable customers are small segments. Understanding these users and
               tailoring testing strategies to reach them is critical.


       23.     Defendant’s Vendor Sponsorship and participation in the 2017 Click Summit

conference exemplifies the highly related business focus and goods and services of Defendant and

Brooks Bell and a shared industry and consumer audience.

       24.     Defendant and Brooks Bell continued to develop their business relationship in 2018

through 2021 and had ongoing communications and in-person meetings on various partner

opportunities, including but not limited to 1) discussions in 2018 of potential subleasing of desk

and conference room space from Defendant by Brooks Bell in San Francisco, in-person visits from

Brooks Bell’s president at the Defendant’s office in San Francisco in 2018, and 2) email

discussions in 2018 regarding attendance at the Opticon conference where Defendant and Brooks

Bell had nearby exhibit booths, and 3) in 2019 regarding joint meetings between Defendant and

Brooks Bell to discuss business pitches to third parties, and 4) in August 2019 regarding a meeting

between Defendant and Brooks Bell to discuss a joint business lunch with an educational

component for Q4 2019.

       25.     In December 2020, Defendant and Brooks Bell met to discuss a referral and

partnership opportunity. In the meeting, Defendant provided Brooks Bell representatives a demo

of certain aspects of the Heap platform. Likewise, Brooks Bell presented its capabilities to the



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Defendant representative, including a discussion of the Brooks Bell ILLUMINATE product

services. The plan was to have more cross-training and co-marketing opportunities to allow

Defendant and Brooks Bell to provide strong and informed recommendations to their customers.

       26.     On December 21, 2020, Defendant executed its “HEAP Global Marketing and

Referral Agreement,” a true and accurate copy of which is attached hereto as Exhibit 6 and

incorporated herein by reference, which states that “Heap and Partner [Brooks Bell] believe there

are significant synergies between the two organizations that offer the opportunity for the Parties

to jointly market the other’s products and services.” This agreement has an effective date of

January 27, 2021.

       27.     Defendant and Brooks Bell provide highly related and competing goods and

services and upon information and belief in some instances to the same third-party customers.

       28.     Defendant knowingly and willingly sought to benefit from the substantial goodwill

in the ILLUMINATE Mark to identify, market, advertise, distribute, offer for sale and sell

Defendant’s own various goods and services, including website optimization software, analytic

services, and related goods and services.

       29.     Brooks Bell has never authorized, permitted, or licensed the Defendant to use any

variation of any of the ILLUMINATE Mark.

       30.     Defendant’s use of the ILLUMINATE Mark on its competing goods and services,

including website optimization software, analytic services, and related goods and services, is likely

to confuse, mislead and deceive the relevant consuming public by falsely suggesting that

Defendant’s goods or services, are endorsed, sponsored, manufactured, distributed, marketed, or

sold by Brooks Bell, which they are not.




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       31.     Defendant has improperly received fees from the unauthorized use of the

ILLUMINATE Mark to which Defendant was not entitled.

       32.     Brooks Bell served a cease and desist letter on Defendant on June 17, 2022 asserting

its rights in the ILLUMINATE Mark.

       33.     Defendant responded on July 14, 2022, denying that Defendant’s use of

ILLUMINATE constitutes trademark use, and the likelihood of confusion, and rejecting Brooks

Bell’s request to cease and desist.

       34.     Brooks Bell served a Notice of Infringement letter to Defendant on August 2, 2022.

       35.     Defendant responded on January 5, 2023 rejecting Brooks Bell’s request to cease

and desist.

       36.     As of today, Defendant continues to use its Infringing Marks in relation to its

services.

       37.     Defendant’s unlawful conduct has resulted, and unless restrained by the Court, will

continue to result in unjust enrichment for Defendant and irreparable harm to Brooks Bell, for

which Brooks Bell lacks an adequate remedy at law.

COUNT I – FEDERAL TRADEMARK INFRINGEMENT

       38.     Brooks Bell incorporates by reference, as if fully restated herein, the allegations

contained in paragraphs 1 through 37 above.

       39.     Defendant’s Infringing Marks are used in connection with its sale, offering for sale,

distribution or advertising of its goods and services.

       40.     Defendant’s goods and/or services were sold in the United States in interstate

commerce.

       41.     Such sales knowingly and willfully infringed Brooks Bell’s ILLUMINATE Mark.




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       42.     Defendant’s use of the Infringing Marks is likely to cause confusion in the

marketplace and is likely to cause mistake or to deceive consumers in violation of Section 32(1)(a)

of the Lanham Act, 15 U.S.C. § 1114(1)(a).

       43.     As a direct and proximate result of Defendant’s trademark infringement, Brooks

Bell has been damaged within the meaning of 15 U.S.C. § 1114 et seq.

       44.     Defendant’s conduct has caused damage to Brooks Bell and its business.

       45.     Brooks Bell is further entitled to disgorge Defendant’s profits for its willful sales

and unjust enrichment.

       46.     Brooks Bell is entitled to recover from Defendant all damages it has sustained from

Defendant’s unlawful and infringing conduct, as well as the profits Defendant has obtained or

allowed others to obtain from such conduct, in an amount to be proved at trial and to be trebled

pursuant to 15 U.S.C. § 1117.

       47.     Defendant’s conduct has been willful and deliberate, and amounts to exceptional

circumstances, justifying an award of reasonable attorneys’ fees and costs to Brooks Bell pursuant

to 15 U.S.C. § 1117.

       48.     Unless preliminarily and permanently enjoined, Defendant’s conduct will cause

Brooks Bell irreparable injury for which Brooks Bell lacks an adequate remedy at law.

COUNT II – FEDERAL UNFAIR COMPETITION

       49.     Brooks Bell incorporates by reference, as if fully restated herein, the allegations

contained in paragraphs 1 through 48 above.

       50.     Defendant has willfully and consciously committed trademark infringement by

using in commerce one or more marks that are identical and confusingly similar to the

ILLUMINATE Mark on or in connection with the sale of goods and services, in a way that is likely




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to cause confusion, mistake or deception as to whether Defendant has a connection with Brooks

Bell, or as to the origin, sponsorship, or approval of Defendant’s good and services in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

       51.      The use of the infringing trademarks in marketing, and other actions alleged

herein, constitute proscribed acts of unfair competition.

       52.     The harm of such unfair competition outweighs its utility, has the effect of

confusing and deceiving consumers, and trades off the goodwill of Brooks Bell.

       53.     On information and belief, such unfair competition was designed specifically to,

and willfully does, maximize the likelihood of confusion.

       54.     Brooks Bell has suffered resulting damages and Defendant has enjoyed resulting

profits from the confusion, in an amount to be established upon proof at trial.

       55.     Defendant’s acts of unfair competition have caused and will continue to cause

damage to Plaintiffs in an amount to be determined at trial.

       56.     Brooks Bell is entitled to damages, and further entitled to an accounting of

infringing profits as unjust enrichment, for willfulness or for deterrence.

       57.     As a direct and proximate consequence of the unfair competition complained of

herein, Brooks Bell has been irreparably harmed to an extent not yet determined and will continue

to be irreparably harmed by such acts in the future unless the Court enjoins Defendant from

committing further acts of infringement

       58.     Defendant’s conduct has been willful and deliberate, and amounts to exceptional

circumstances, justifying an award of reasonable attorneys’ fees and costs to Brooks Bell pursuant

to 15 U.S.C. § 1117.




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COUNT III – UNFAIR COMPETITION – COMMON LAW

       59.     Brooks Bell incorporates by reference, as if fully restated herein, the allegations

contained in paragraphs 1 through 58 above.

       60.     In advertising its services, Defendant further misrepresented the character of its

business by suggesting a connection with Brooks Bell.

       61.     Each of Defendant’s acts and omissions alleged herein, including trademark

infringement and unfair competition, harms Brooks Bell and constitutes unlawful, unfair, or

fraudulent business acts or practices, unfair, deceptive, untrue, or misleading advertising, and/or

false advertising under the common law.

       62.     Defendant has engaged in unfair competition by the acts alleged herein.

       63.     Defendant’s acts and omissions alleged herein constitute unfair business practices

because the harm of these business practices outweighs the utility, if any, of these business

practices, and are unscrupulous and injurious to consumers.

       64.     Defendant’s acts and omissions alleged herein constitute unlawful business

practices because Defendant’s conduct is forbidden by multiple laws, including but not limited to

15 U.S.C. § 1125(a), as well as the common laws, laws of the State of North Carolina and laws of

the United States.

       65.     Defendant’s acts and omissions alleged herein constitute fraudulent business

practices because consumers are likely to be deceived.

       66.     Defendant has engaged in these activities willfully and consciously.

       67.     Defendant’s activities have caused and will continue to cause damage to Brooks

Bell, in an amount to be determined at trial.




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        68.     As a direct and proximate consequence of the infringement complained of herein,

Brooks Bell has been irreparably harmed to an extent not yet determined and will continue to be

irreparably harmed by such acts in the future unless the Court enjoins Defendant from committing

further acts of infringement.

        69.     Brooks Bell is informed and believes, and on that basis alleges that Defendant’s

actions were adoptively willful, willfully blind, intentional, malicious, deliberate and in bad faith,

such that punitive damages are justified and reasonable, at an amount to be proved at trial, and so

as to also qualify for enhanced damages and attorneys’ fees pursuant to 15 U.S.C. § 1117.

PRAYER FOR RELIEF

        WHEREFORE, Brooks Bell prays for the following relief:

        A.      Judgment in Brooks Bell’s favor on all claims asserted against Defendant;

        B.      An order from the Court preliminarily and permanently enjoining Defendant and

their affiliates, subsidiaries, parents, employees, officers, directors, agents, representatives and all

others working in concert with Defendant from:

                1)    Using any marks or names that are so similar to the ILLUMINATE Mark to

                      create a likelihood of confusion, mistake or deception;

                2)    Selling, offering for sale, marketing, advertising, assigning, or otherwise

                      transferring software using any marks or names that are so similar to the

                      ILLUMINATE Mark, to any third party or the relevant consuming public;

                3)    Doing any other act likely to induce the mistaken belief that goods or services

                      offered by such persons are in any way affiliated with, connected with,

                      endorsed by, certified by or associated with Brooks Bell;




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               4)    That the Court order Defendant to file with the Court and serve on Brooks

                     Bell, within thirty (30) days of the issuance of such order, a report in writing

                     and under oath setting forth in detail the manner and form of Defendant’s

                     compliance with all Court-ordered injunctive relief;

       C.      An award to Brooks Bell of the actual and compensatory damages caused to Brooks

Bell by Defendant’s unlawful and infringing conduct, and a disgorgement of all profits made by

Defendants or other persons or entities, from their unlawful and infringing conduct, in an amount

to be proven at trial and trebled pursuant to 15 U.S.C. § 1117;

       D.      An award to Brooks Bell of the reasonable attorneys’ fees and costs incurred by

Brooks Bell in this matter;

       E.      Such other relief to Brooks Bell as the Court deems just and proper; and

       F.      A trial by jury on all issues so triable herein.


       This the 1st day of June, 2023.

                                               WYRICK ROBBINS YATES & PONTON LLP

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